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 1 UNITED STATES OF AMERICA,       )
                                   )
 2                    Plaintiff,   )
                                   )
 3             v.                  )
                                   )         No. 07-CR-0024 DLJ
 4   ARTEMIOS MANIATIS ET.AL.      )
                                   )
 5                                 )         ORDER
                      Defendants. )
 6   ______________________________)
 7         On June 15, 2007, Pamfilo Contrano (Petitioner), a witness in
 8 United States v. Maniatis et. al., filed a motion requesting that
 9 the Court issue an order allowing Petitioner to return his home in
10 the Philippines or in the alternative, order the parties to take
11 Petitioner’s deposition pursuant to Rule 15 of the Federal Rules of
12 Criminal Procedure.      For the reasons set forth below, the Court
13 GRANTS Petitioner’s motion and orders the government and defense
14 counsel in United States v. Maniatis et. al. to conduct a Rule 15
15 deposition.
16                                    BACKGROUND
17         Petitioner was a crew member of the M/T Captain X Kyriakou
18 (the vessel), which entered the Port of Benicia on November 2,
19 2006.    Upon entering the Port of Benicia, the vessel was inspected
20 by the United States Coast Guard who conducted a Port State Control
21 Inspection and found evidence of violations of U.S. laws and
22 international regulations.        The case was referred to the United
23 States Attorney’s Office who brought Indictments against the
24 vessel’s Chief Engineer, Artemios Maniatis; the First Assistant
25 Engineer, Dimitrios Georgakoudis; and the vessel’s operator,
26 Athenian Sea Carriers.       The Indictment charged Defendants with
27 conspiracy, making false statements, failing to maintain an
28 accurate oil record book, obstruction of justice, and destruction
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 1 of evidence.
 2      Trial for all three defendants was set for May 15, 2007.
 3 However, the day before trial, the Court had to sever Dimitrios
 4 Georgakoudis from the trial because his attorney experienced a
 5 family emergency that prevented him from representing Georgakoudis
 6 at trial.    The other two defendants, Artemios Maniatis and Athenian
 7 Sea Carriers, proceeded to trial and Petitioner testified as a
 8 government witness at that trial.          The government has indicated
 9 that it is proceeding with its case against Dimitrios Georgakoudis
10 and the Court has set this matter for trial on September 24, 2007.
11 The government has stated that Petitioner will be a material
12 witness at this trial.
13      Petitioner has been in the United States, waiting for this
14 matter to be resolved, since November 2, 2006.          His employer,
15 Athenian Sea Carriers, paid him a salary until March of 2007.
16 However, since that time, he has not been paid and is unable to
17 send money home to his family in the Philippines.
18                                   DISCUSSION
19      Under 18 U.S.C. § 3144 a material witness can be arrested and
20 detained pending trial.      Rule 15 of the Federal Rules of Criminal
21 Procedure sets forth a procedure for taking the deposition of
22 material witnesses in such a case.         Rule 15 allows a detained
23 material witness to petition the court to be deposed before trial
24 and permits the court to order such a deposition and discharge the
25 witness once he has signed under oath the deposition transcript.
26 In this case, the Court finds that Petitioner, while not formally
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 1 detained under 18 U.S.C. § 3144, is a functionally detained
 2 material witness under Rule 15.        Petitioner’s passport has been
 3 taken from him and he has been compelled to remain in the United
 4 States pending trial in this matter.         Petitioner’s life has been
 5 placed on hold since November 2, 2006.         Petitioner has been unable
 6 to work since he entered the United States and no longer has any
 7 income to provide to his family in the Philippines.
 8      Requiring Petitioner to remain in the United States for at
 9 least another three months would not be in the interests of
10 justice.   As noted above, this case was set for trial on May 15,
11 2007 and the government and defense were prepared to go forward at
12 that time.    Accordingly, the government and defense have had ample
13 time to prepare to question Petitioner and his testimony can be
14 adequately preserved for trial through a deposition.           The
15 government and defense are ordered to depose Petitioner on Friday,
16 June 29, 2007 at 10 a.m. at the Law Offices of Petitioner’s
17 attorney, Brian Getz.      The depositions shall be taken pursuant to
18 the provisions set forth in Rule 15 of the Federal Rules of
19 Criminal Procedure.     After the deposition is completed and
20 Petitioner signs the deposition transcript, Petitioner is to be
21 given his passport and he is to be permitted to return to his home
22 in the Philippines.
23
24 IT IS SO ORDERED
25 Dated: June 20, 2007                       ____________________________
                                              D. Lowell Jensen
26                                            United States District Judge
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